                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSIN
                         MILWAUKEE DIVISION

Donald J. Trump, Candidate for President         )
of the United States of America,                 )
                                                 )
                                                 )
             Plaintiff,                          )
                                                 )
vs.                                              ) Case No. 2:-20-cv-01785-BHL
                                                 )
                                                 )
The Wisconsin Elections Commission, and          )
its members, Ann S. Jacobs, Mark L.              )
Thomsen, Marge Bostelman, Dean                   )
Knudson, Robert F. Spindell, Jr., in their       )
official capacities, Scott McDonell in his       )
official capacity as the Dane County Clerk,      )
George L. Christenson in his official            )
capacity as the Milwaukee County Clerk,          )
Julietta Henry in her official capacity as the   )
Milwaukee Election Director, Claire              )
Woodall-Vogg in her official capacity as the     )
Executive Director of the Milwaukee              )
Election Commission, Mayor Tom Barrett,          )
Jim Owczarski, Mayor Satya Rhodes-               )
Conway, Maribeth Witzel-Behl, Mayor Cory         )
Mason, Tara Coolidge, Mayor John                 )
Antaramian, Matt Krauter, Mayor Eric             )
Genrich, Kris Teske, in their official           )
Capacities; Douglas J. La Follette,              )
Wisconsin Secretary of State, in his official    )
capacity, and Tony Evers, Governor of            )
Wisconsin, in his Official capacity.             )


             Defendants.


                          PLAINTIFF’S NOTICE OF FILING

TO: ALL COUNSEL OF RECORD




                                      1
       Case 2:20-cv-01785-BHL Filed 12/12/20 Page 1 of 2 Document 138
PLEASE TAKE NOTICE that on December 12, 2020, I caused to be filed with the
Clerk of the Court for the Eastern District of Wisconsin, Plaintiffs’ Notice of
Appeal and Docketing Statement of Plaintiffs-Appellants, copies of which
were served upon you via the Court’s CM/ECF system.

                                 Respectfully Submitted, December 12, 2020

                                 /s/ William Bock, III
                                 ATTORNEY FOR PLAINTIFF DONALD J. TRUMP


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                          CERTIFICATE OF SERVICE

      A copy of the foregoing document was served upon all parties’ counsel of
record via this Court’s CM/ECF service on this 12th day of December, 2020.


                                      /s/ William Bock, III




                                      2
       Case 2:20-cv-01785-BHL Filed 12/12/20 Page 2 of 2 Document 138
